              Case 3:16-bk-02230-PMG          Doc 1175       Filed 08/28/18       Page 1 of 32



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


 In re                                                            Case No. 3:16-bk-02230-PMG

 RMS TITANIC, INC., et al.,1                                                 Chapter 11
                                                                       (Jointly Administered)
                           Debtors.


  REPLY OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, THE
TRUSTEES OF THE NATIONAL MARITIME MUSEUM, THE BOARD OF TRUSTEES
OF THE NATIONAL MUSEUMS AND GALLERIES OF NORTHERN IRELAND, AND
  RUNNING SUBWAY PRODUCTIONS, LLC IN RESPONSE TO THE DEBTORS’
                 DISCLOSURE STATEMENT OBJECTION

          The Official Committee of Unsecured Creditors (“Creditors’ Committee”), the Trustees

of the National Maritime Museum (“NMM”), the Board of Trustees of the National Museums

and Galleries of Northern Ireland (“NMNI” and, together with NMM, the “Museums”), and

Running Subway Productions, LLC (“Running Subway” and, together with the Creditors’

Committee and the Museums, the “Plan Proponents”) hereby submit this reply in response to

the Objection of the Debtors to the Disclosure Statement to Accompany the Joint Chapter 11

Plan of Reorganization Proposed by the Official Committee of Unsecured Creditors, the

Trustees of the National Maritime Museum, the Board of Trustees of National Museums and

Galleries of Northern Ireland, and Running Subway Productions, LLC (the “Objection”).2




          1
         The Debtors are: RMS Titanic, Inc.; Premier Exhibitions, Inc.; Premier Exhibitions Manage, LLC; Arts
and Exhibitions International, LLC; Premier Exhibitions International, LLC; Premier Exhibitions NYC, Inc.;
Premier Merchandising, LLC; and Dinosaurs Unearthed Corp.
          2
           Capitalized terms not defined herein shall have the meanings ascribed to such terms in the Plan
Proponents’ first amended chapter 11 plan (as amended, supplemented, or modified, the “Plan”), and the
accompanying disclosure statement (as amended, supplemented, or modified, the “Disclosure Statement”), both
filed contemporaneously herewith.




#91216978v9
               Case 3:16-bk-02230-PMG        Doc 1175     Filed 08/28/18     Page 2 of 32



          As set forth in detail below or as stated in Exhibit A (“Response Chart”), it is

respectfully submitted that each objection has been addressed by additional disclosure, is without

merit, or presents issues more properly addressed at confirmation. Accordingly, the Objection

should be overruled and the Disclosure Statement should be approved as fully complying with

section 1125 of the Bankruptcy Code.

                                          INTRODUCTION

          1.       Of the three proposed liquidating sale transactions pending before the Court, the

Plan provides the greatest recovery for unsecured creditors, and the best chance of being

approved by the U.S. District Court for the Eastern District of Virginia (the “District Court”).

To ensure that the creditors may finally exercise their right to decide which of the three proposals

best meets their interests, however, the Plan Proponents, through this Reply and the Creditors’

Committee’s Limited Objection to the Debtors’ Sale Motion (Docket No. 1168), respectfully

request that this Court:

                         Approve the Disclosure Statement and overrule the Objection;

                         Schedule a combined hearing to consider (i) the confirmation of the Plan
                          or (ii) the approval of the Debtors’ proposed sale to the Stalking Horse
                          Purchaser (or the prevailing bidder at auction);

                         Direct the Debtors to timely provide the Museums with the Seller
                          Disclosure Letter and the Plan Proponents with such other reasonable and
                          necessary due diligence requested by them; and

                         Order certain limited amendments to the proposed bidding procedures
                          order annexed to the Debtors’ sale motion (Docket No. 1055 (“Sale
                          Motion”)) to ensure: (i) entry of said order will not preclude or otherwise
                          affect the subsequent solicitation, confirmation, or consummation of the
                          Plan, or (ii) no bidding protections shall be paid to the proposed stalking
                          horse purchaser (“Stalking Horse Purchaser”) if a transaction with the
                          Museums and Running Subway is ultimately consummated.




                                                   2
#91216978v9
               Case 3:16-bk-02230-PMG        Doc 1175      Filed 08/28/18    Page 3 of 32



          2.       Granting this relief in the best interests of the Debtors’ estates and the public’s

interest in the historical, archeological, scientific, and cultural aspects of the artifacts salvaged

from the R.M.S. Titanic wreck.

                                           BACKGROUND

          3.       On June 29, 2018, the Plan Proponents filed their initial plan and disclosure

statement, which contemplated a private sale of substantially all of the Debtors’ assets to the

Museums and Running Subway for $19.2 million.

          4.       On July 18, 2018, the Debtors filed the Objection. That Objection was joined in

the same day by Lange Feng, Jihe Zhang, Haiping Zou, High Nature Holdings Ltd., PacBridge

Capital Partners (HK) Ltd. (“PacBridge”), and the so-called ad hoc equity group, all of whom

are contemplated owners of the Stalking Horse Purchaser (Docket Nos. 1124, 1126).

          5.       This Court subsequently entered a Status Conference Order (Docket No. 1147)

scheduling a joint hearing for August 30, 2018 to consider (i) entry of the Debtors’ proposed

bidding procedures order, and (ii) the adequacy of the disclosure statements filed by the Plan

Proponents and the Equity Committee. The Order provides: “[i]t is appropriate to schedule a

single hearing on the Bidding Procedures and Disclosure Statements to enable creditors and

stakeholders to make informed choices regarding the three proposals for liquidation of the

Debtor’s assets.” (Id. p.5.)

          6.       Additionally, the Status Conference Order provided that the Debtors, the Plan

Sponsors, and the Equity Committee “should move in [the District Court] for any approvals or

determinations required by the District Court to complete the proposed transactions.” (Id.) On

August 17, 2018, the Museums moved to intervene in the District Court proceeding and attached to




                                                    3
#91216978v9
               Case 3:16-bk-02230-PMG               Doc 1175        Filed 08/28/18          Page 4 of 32



its motion a proposed complaint seeking declaratory judgment that the Museums are Qualified

Institutions under the terms of the Revised Covenants and Conditions.3

          7.       On August 27, 2018, creditor Euclid Claims Recovery LLC filed an omnibus

response (Docket No. 1169) which requests that the Court “[a]pprove both Disclosure

Statements and set a schedule that provides for prompt concurrent solicitation of votes for each

Plan and prompt concurrent confirmation hearings.” No other creditor has submitted a written

response in respect of the Disclosure Statement.

          8.       On August 28, 2018, the Plan Proponents filed an amended Plan and Disclosure

Statement. As described herein, many of the amendments to the same were made to address the

Debtors’ objections.

                                                   ARGUMENT

          9.       The Debtors’ objections fall into three categories, with several appearing in

multiple categories.

          10.      First, the Debtors have challenged the adequacy of information in the Disclosure

Statement. The Plan Proponents have addressed (i) all such objections of merit by revising the

Disclosure Statement, as described in the annexed Response Chart, and (ii) all non-meritorious



          3
           At a status hearing in the District Court on August 21, 2018, the Debtors took the position that this Court
did not, through the Status Conference Order, encourage the Plan Proponents and the Equity Committee to intervene
in the District Court proceeding:

                   [W]e don't read the [Status Conference Order] at all, Your Honor, as directing or
                   mandating intervention by these other parties. In fact, and I don't want to get the
                   cart too much in front of the horse here, but in terms of that, we believe it would
                   be premature for either the museum/unsecured creditors or the equity committee
                   to move in this case at this point in time.

(Ex. B. at 9.) Instead, the Debtors interpret the language in the section of the Status Conference Order titled “The
parties should take the steps that are necessary for approval by the District Court” as merely “set[ting] forth that [this
Court] was going to follow the Chapter 11 procedures and policies set forth in the bankruptcy code.” (Id.) Annexed
hereto as Exhibit B is an excerpt of the transcript of that hearing.



                                                            4
#91216978v9
              Case 3:16-bk-02230-PMG             Doc 1175       Filed 08/28/18        Page 5 of 32



objections as described below and in the Response Chart. As a result, all such objections should

be overruled.

          11.     Second, the Debtors have asserted that certain Plan provisions render it

unconfirmable, and solicitation would therefore be pointless. The Plan Proponents disagree.

These objections raise quintessential confirmation issues not properly considered at the

Disclosure Statement hearing, and none come close to establishing the Plan is unconfirmable.

Simply put, the Plan is well-constructed, well within the bounds of the Bankruptcy Code, and

ready for solicitation.

          12.     Third, the Debtors have asserted that the Disclosure Statement is deficient

because it does not include the Acquisition Agreements and the Schedule of Assumed Contracts

and Leases.       As discussed below, the Plan Proponents have been unable to finalize such

documentation because the Debtors have refused, despite numerous requests from the Plan

Proponents, to provide the Museums and Running Subway with certain reasonable and necessary

due diligence, including the Seller Disclosure Letter.4 Although the Debtors’ failure to provide

due diligence to date does not impact the adequacy of Disclosure Statement, it is respectfully

submitted that the Debtors should be directed to timely provide the Museums and Running

Subway with reasonable and necessary due diligence so that the Plan Proponents may file the

Acquisition Agreements and the Schedule of Assumed Contracts and Leases with the Plan

Supplement prior to confirmation.



          4
           Footnote 2 to the Sale Motion states that the Seller Disclosure Letter and the schedules attached
thereto “will be made available to Contact Parties (as defined in the Bid Procedures) and other interested parties
following the execution of a confidentiality agreement with the Debtors.” As described herein, GlassRatner has
been directed to not provide the Museums with the Seller Disclosure Letter even though they have proposed to
acquire, with Running Subway, substantially all of the Debtors’ assets and are willing to execute a confidentiality
agreement.



                                                        5
#91216978v9
              Case 3:16-bk-02230-PMG        Doc 1175      Filed 08/28/18     Page 6 of 32



I.        THE DISCLOSURE STATEMENT MEETS SECTION 1125’S REQUIREMENTS

          13.     Section 1125(b) requires that solicitation cannot commence prior to court

approval of a disclosure statement containing “adequate information” that would permit parties

to make an informed judgment as to the accompanying plan. “Adequate information” is defined

in subdivision (a)(1) as:

                  [I]nformation of a kind, and in sufficient detail, as far as is
                  reasonably practicable in light of the nature and history of the
                  debtor and the condition of the debtor’s books and records,
                  including a discussion of the potential material Federal tax
                  consequences of the plan to the debtor, any successor to the debtor,
                  and a hypothetical reasonable investor typical of the holders of
                  claims or interests in the case, that would enable such a
                  hypothetical investor of relevant class to make an informed
                  judgment about the plan, but adequate information need not
                  include such information about any other possible or proposed
                  plan.

          14.     The adequacy of information in a disclosure statement is determined on a case-by-

case basis. See, e.g., In re Copy Crafters Quickprint, Inc., 92 B.R. 973, 979 (Bankr. N.D.N.Y.

1988) (“What constitutes adequate information is to be determined on a case-specific basis under

a flexible standard that can promote the policy of chapter 11 towards fair settlement through a

negotiation process between informed interested parties.”). In construing section 1125, courts

have articulated a number of categories of information that generally should be included in a

disclosure statement. Such factors include:

                  (1)    the events which led to the filing of a bankruptcy petition;
                  (2)    a description of the available assets and their value;
                  (3)    the anticipated future of the company;
                  (4)    the source of information stated in the disclosure statement;
                  (5)    a disclaimer;
                  (6)    the present condition of the debtor while in Chapter 11;
                  (7)    the scheduled claims;
                  (8)    the estimated return to creditors under a chapter 7 liquidation;
                  (9)    the accounting method utilized to produce financial information and the
                         name of the accountants responsible for such information;
                  (10)   the future management of the debtor;

                                                   6
#91216978v9
              Case 3:16-bk-02230-PMG       Doc 1175      Filed 08/28/18   Page 7 of 32



                  (11)   the chapter 11 plan or a summary thereof;
                  (12)   the estimated administrative expenses, including attorneys’ and
                         accountants’ fees;
                  (13)   the collectability of accounts receivable;
                  (14)   financial information, data, valuations or projections relevant to the
                         creditors’ decision to accept or reject the Chapter 11 plan;
                  (15)   information relevant to the risks posed to creditors under the plan;
                  (16)   the actual or projected realizable value from recovery of preferential or
                         otherwise voidable transfers;
                  (17)   litigation likely to arise in a nonbankruptcy context;
                  (18)   tax attributes of the debtor; and
                  (19)   the relationship of the debtor with its affiliates.

In re Metrocraft Pub. Servs., Inc., 39 B.R. 567, 568 (Bankr. N.D. Ga. 1984) (citing In re A. C.

Williams Co., 25 B.R. 173 (Bankr. N.D. Ohio 1982) for categories (1) through (11), In re

William F. Gable Co., 10 B.R. 248 (Bankr. N.D. W. Va. 1981) for categories (12) and (13), and

In re Adana Mortgage Bankers, Inc., 14 B.R. 29 (Bankr. N.D. Ga. 1981) for categories (14) and

(15), and adding (16) through (19) in response to objections raised in that proceeding).

Disclosure of all listed categories of information is not necessary in every case. See, e.g., In re

Phoenix Petroleum, 278 B.R. 385, 393 (Bankr. E.D. Pa. 2001) (“[I]t is well understood that

certain categories of information which may be necessary in one case may be omitted in another;

no one list of categories will apply in every case.”).

          15.     The Disclosure Statement provides ample information of the kind bankruptcy

courts have held to constitute “adequate information,” and thus fully satisfies the requirements of

section 1125.

II.       OBJECTIONS TO THE DISCLOSURE STATEMENT’S ADEQUACY HAVE
          BEEN ADDRESSED OR ARE MERITLESS

          16.     The Debtors have asserted that the initial disclosure statement lacks adequate

information in certain respects; however, none of these objections render it inadequate. The Plan

Proponents have addressed the vast majority of these alleged deficiencies by filing an amended

Disclosure Statement, and those not addressed should be overruled as meritless. The Response

                                                  7
#91216978v9
              Case 3:16-bk-02230-PMG       Doc 1175      Filed 08/28/18   Page 8 of 32



Chart contains detailed responses to each objection.        Certain objections, those considered

meritless by the Plan Proponents, are discussed below.

                  A.     Failure to Include a List or Description of Scheduled Claims Against
                         the Debtors or the Impact of Their Allowance or Disallowance

          17.     The Debtors have objected to the adequacy of information in the Debtors’ initial

disclosure statement on the ground that it does not include a list or description of the scheduled

claims against the Debtors or the impact of such claims being allowed or disallowed. (Objection

¶23.) The inclusion of such a list of claims against the Debtors is not a condition precedent for

the adequacy of a disclosure statement. Phoenix Petroleum, 278 B.R. 385 at 393 (“[I]t is also

well understood that certain categories of information which may be necessary in one case may

be omitted in another; no one list of categories will apply in every case.”). The legislative

history to section 1125 further “emphasizes that the adequacy of disclosure is dependent upon

various factors including: the size and complexity of the chapter 11 case, the type of plan

proposed, the type of creditors and claims impaired by the proposed plan, and the access by

impaired creditors to relevant information from other sources.” In re Monroe Well Serv., Inc., 80

B.R. 324, 330 (Bankr. E.D. Pa. 1987).

          18.     In response to this objection, the Plan Proponents added a new section to the

Disclosure Statement titled “Bar Dates and Claims Filed” which directs creditors to the Debtors’

schedules of assets and liabilities and statements of financial affairs. (Disclosure Statement

Art. V.C.)      The Disclosure Statement also directs creditors to the website of the statutory

committees, where creditors may access the docket without charge. (Id. at Art. IX.) As a result,

the Plan Proponents believe that the creditors have access to lists and descriptions of the

scheduled claims.




                                                  8
#91216978v9
              Case 3:16-bk-02230-PMG        Doc 1175     Filed 08/28/18     Page 9 of 32



          19.     Additionally, the Plan Proponents provided the Debtors’ estimates of Claims

against the estates in Exhibit C to the Disclosure Statement and have disclosed that the Plan

Proponents anticipate the general unsecured claim asserted by PacBridge will not be allowed

because it is on account of services rendered to DinoKing Tech, Inc., a non-debtor affiliate of the

Debtors. (Id. at Art. V.Q.)

          20.     For these reasons, the Parties believe this objection is rendered moot and without

merit.

                  B.     Failure to Include a Mechanism or Instrument that Requires the
                         Museums and Running Subway to Acquire the Debtors’ assets at a
                         Threshold Amount

          21.     The Debtors have objected to the adequacy of information in the Debtors’ initial

disclosure statement on the ground that it does not include a mechanism or instrument that would

require the Museums and Running Subway to acquire the Debtors’ assets at a threshold amount.

(Objection ¶18.) Such a mechanism or instrument is not necessary. It is a condition precedent to

the Plan’s effectiveness that the Museums raise the full $19.2 million needed to consummate the

contemplated transaction. (Plan § XI.B.5 (consummation of sale is condition precedent to

consummation.)) The $19.2 million purchase price is, therefore, the very “threshold amount”

that the Debtors assert does not exist in the Plan. This objection is accordingly premature.

III.      CONSIDERATION OF CONFIRMATION OBJECTIONS AT THIS STAGE
          WOULD BE PREMATURE

          22.     The Debtors have challenged approval of the initial disclosure statement on the

ground that the accompanying plan is patently unconfirmable. Such objections are strategically

couched in such terms in an attempt to circumvent the well-settled rule that confirmation

objections are not the proper subject of a disclosure statement hearing. See In re Adell, 325 B.R.

883, 886 (Bankr. M.D. Fla. 2005) (“[C]onfirmation issues should be considered at the


                                                  9
#91216978v9
              Case 3:16-bk-02230-PMG        Doc 1175     Filed 08/28/18    Page 10 of 32



confirmation hearing and not the hearing on Disclosure Statement.”); In re Cardinal Congregate

I, 121 B.R. 760, 764 (Bankr. S.D. Ohio 1990) (“Where objections relating to confirmability of a

plan of reorganization raise novel or unsettled issues of law, the Court will not look behind the

disclosure statement to decide such issues at the hearing on the adequacy of the disclosure

statement.”); Copy Crafters, 92 B.R. at 980 (“[C]are must be taken to ensure that the hearing on

the disclosure statement does not turn into a confirmation hearing, due process considerations are

protected and objections are restricted to those defects that could not be cured by voting”).

          23.      Only in the most extreme circumstances, when a plan is patently unconfirmable,

is it appropriate for a bankruptcy court to consider threshold confirmation issues at the disclosure

statement hearing. See In re Spanish Lake Assocs., 92 B.R. 875, 877 (Bankr. E.D. Mo. 1988)

(“If the Court can determine from a reading of the plan that it does not comply with . . . the

Bankruptcy Code, then it is incumbent upon the Court to decline approval of the disclosure

statement.”). However, if a bankruptcy court exercises its discretion to consider threshold

confirmation issues, such issues should not impede approval of the disclosure statement unless it

is established that the plan is “so fatally flawed that confirmation is impossible.” Cardinal

Congregate I, 121 B.R. at 764.

          24.      None of the Debtors’ objections come close to establishing any such incurable

defects. Indeed, their objections merely note that there are conditions that have yet to be

satisfied.      Therefore, these objections are not the proper subject of a disclosure statement

objection and should be overruled. The parties nevertheless briefly respond to these objections

below.

                   A.     The Museums Lack Sufficient Funds Today to Consummate the Plan

          25.      The Debtors have alleged that the “feasibility of the Joint Plan” remains suspect

because the Museums “do not have sufficient resources to consummate the plan they proposed.”

                                                  10
#91216978v9
              Case 3:16-bk-02230-PMG       Doc 1175      Filed 08/28/18    Page 11 of 32



(Objection ¶7.)        Objections to plan feasibility because of a financing contingency are not

appropriate for consideration at a disclosure statement hearing and, as such, should be overruled.

In re Coastal Realty Investments, Inc., No. 12-20564, 2013 WL 214235, at *2 (Bankr. S.D. Ga.

Jan. 17, 2013) (“[A]s long as the disclosure statement adequately provides creditors with enough

information to assess the plan, the disclosure statement has fulfilled its purpose. Judgments

about whether the plan is feasible based on those assessments are issues reserved for plan

confirmation.”).

          26.     In addition, the Disclosure Statement expressly states the Museums’ intention to

raise the purchase price through a global fundraising campaign, as well as to obtain financing

from governmental sources.         (Disclosure Statement Art. IV.I.)   The Plan Proponents have

supplemented Article IV.I with additional information about the Museums’ fundraising record

and added a new section disclosing the risk that the Museums fail to raise the Purchase Price.

(Id. Art. VII.B.1.) Bankruptcy courts have approved disclosure statements that rely on outside

fundraising. See, e.g., In re Charles St. African Methodist Episcopal Church of Boston, Case No.

12-12292 (Bankr. D. Mass. July 10, 2017) (Docket No. 1054) (approving disclosure statement

that relied on voluntary donations from debtors’ members); In re Archdiocese of Saint Paul &

Minneapolis, Case No. 15-30125 (Bankr. D. Minn. Dec. 29, 2016) (Docket No. 903) (same).

          27.     The Debtors’ feasibility objection is a quintessential confirmation objection, and

should therefore be overruled at this point. The Museums will be prepared to demonstrate the

Plan’s feasibility come confirmation.

                  B.      The Plan Makes it “Impossible” to Determine When the Effective
                          Date Will Occur, if Ever

          28.     The Debtors have asserted that the Plan accompanying the Debtors’ initial

disclosure statement is unconfirmable on the ground that it is “impossible to determine from the


                                                  11
#91216978v9
              Case 3:16-bk-02230-PMG       Doc 1175     Filed 08/28/18    Page 12 of 32



face of the Joint Plan when the Effective Date will occur, if ever.” (Objection ¶8.) In support,

the Debtors note that the Plan does not include a “timeline, outside date, or . . . expected sale

date” and does not include the Acquisition Agreements, which contain conditions precedent to

the consummation of the Sale. The Plan Proponents have since filed an amended Disclosure

Statement to clarify that the conditions precedent in the Acquisition Agreements to the

consummation of the Sale will be substantially similar to those in the Stalking Horse APA, and

that the Acquisition Agreements will include the same “Outside Date” as the Stalking Horse

APA (i.e. seventy calendar days following entry of an order by the Admiralty Court approving

the sale). (Disclosure Statement Art. IV.I.3.)

          29.     The Plan Proponents have requested that the Confirmation Hearing be scheduled

for October and, if the Confirmation Order is entered, anticipate the Plan’s becoming effective

shortly after entry of the Confirmation Order and an order of the Admiralty Court approving the

sale.

          30.     For these reasons, the Debtors’ objection that the Plan is patently unconfirmable

because it does not set an effective date should be overruled.

IV.       THE DEBTORS SHOULD NOT BE REWARDED FOR THEIR CONTINUED
          REFUSAL TO FURNISH INFORMATION NEEDED TO FINALIZE THE
          ACQUISTION AGREEMENTS AND SCHEDULE OF ASSUMED CONTRACTS
          AND LEASES

          31.     The Debtors have asserted that the Disclosure Statement is deficient because it

does not include the Acquisitions Agreements and the Schedule of Assumed Contracts and

Leases. (Objection ¶¶8, 22-23.) As is usual many other chapter 11 cases, the Plan Proponents

intend to file these documents with a Plan Supplement prior to the Confirmation Hearing and, in

any event, it is not a requirement of the Bankruptcy Code or Rules to file these documents with

the Disclosure Statement. To date, however, the Debtors’ refusal to provide reasonable and


                                                 12
#91216978v9
              Case 3:16-bk-02230-PMG             Doc 1175        Filed 08/28/18        Page 13 of 32



necessary due diligence to the Museums and Running Subway despite their numerous requests

until the Museums raise the full $19.2 million5 has prevented them from properly finalizing the

Acquisitions Agreements and the Schedule of Assumed Contracts and Leases.

          32.     This continued refusal has also led to a charade of sorts, in which the Debtors

refuse to furnish the Plan Proponents with information necessary to finalize the Acquisition

Agreements and the Schedule of Assumed Contracts and Leases, preventing them from including

such documents in their Disclosure Statement, and then go on to object to the Disclosure

Statement because such documents are not annexed to it. This situation should not be permitted

to continue.

          33.     The Plan Proponents respectfully submit that the Disclosure Statement is more

than adequate, despite the Debtors’ stonewalling. However, to assist in the finalization of the

Acquisitions Agreements and the Schedule of Assumed Contracts and Leases prior to

confirmation, the Plan proponents request that this Court direct the Debtors to timely provide the

Seller Disclosure Letter and such other reasonable and necessary due diligence as the Plan

Proponents request from time to time.




          5
          At the July 25, 2018 status conference before this court, the Debtors’ lawyers said that they would provide
the Museums with due diligence only after the Museum raises the full $19.2 million: “[W]e haven't provided [the
Seller Disclosure Letter] to the museum. Should the museum come up with the money, we'll provide it to them. It’s
as simple as that.” See Transcript of Proceedings (Docket No. 1143), at 68.



                                                        13
#91216978v9
              Case 3:16-bk-02230-PMG       Doc 1175     Filed 08/28/18      Page 14 of 32



                                          CONCLUSION

          34.     For the foregoing reasons, the Court should: (i) approve the Disclosure Statement

and overrule the Objection; (ii) schedule a combined hearing to consider confirmation of the Plan

and the Debtors’ proposed sale to the Stalking Horse Purchaser (or the prevailing bidder at

auction); (iii) direct the Debtors to timely furnish the Seller Disclosure Letter and such other

reasonable and necessary due diligence to the Plan Proponents; and (iv) grant such other and

further relief as the Court deems just and proper.

Dated: August 28, 2018                                Jeffrey Chubak (admitted pro hac vice)
                                                      STORCH AMINI PC
                                                      140 East 45th Street, 25th Floor
                                                      New York, New York 10017
                                                      (212) 490-4100
                                                      (212) 490-4208 (Facsimile)
                                                      jchubak@storchamini.com

                                                      - and -

                                                      THAMES MARKEY & HEEKIN, P.A.

                                                                /s/ Richard R. Thames
                                                      By:
                                                             Richard R. Thames
                                                             Robert A. Heekin
                                                      Florida Bar No. 0718459
                                                      Florida Bar No. 652083
                                                      50 North Laura Street, Suite 1600
                                                      Jacksonville, Florida 32202
                                                      (904) 358-4000
                                                      (904) 358-4001 (Facsimile)
                                                      rrt@tmhlaw.net
                                                      rah@tmhlaw.net

                                                      Attorneys for the Official Committee of
                                                      Unsecured Creditors




                                                 14
#91216978v9
              Case 3:16-bk-02230-PMG   Doc 1175    Filed 08/28/18     Page 15 of 32



                                                  DAVIS POLK & WARDWELL LLP
                                                  Timothy Graulich (admitted pro hac vice)
                                                  James I. McClammy (admitted pro hac vice)
                                                  450 Lexington Avenue
                                                  New York, NY 10017
                                                  (212) 450-4000
                                                  timothy.graulich@davispolk.com
                                                  james.mcclammy@davispolk.com

                                                  - and –

                                                  STEARNS WEAVER MILLER WEISSLER
                                                      ALHADEFF & SITTERSON, P.A.
                                                  Patricia Ann Redmond
                                                  Florida Bar No. 303739
                                                  Museum Tower
                                                  150 West Flagler Street
                                                  Suite 2200
                                                  Miami, FL 33130
                                                  Telephone: (305) 789-3200
                                                  predmond@stearnsweaver.com

                                                  Attorneys for the Trustees of the
                                                  National Maritime Museum




                                           15
#91216978v9
              Case 3:16-bk-02230-PMG       Doc 1175        Filed 08/28/18   Page 16 of 32



                   CERTIFICATE OF ELECTRONIC FILING AND SERVICE

          I hereby certify that on August 28, 2018, a true and correct copy of the foregoing was

served via CM/ECF electronic transmission upon those parties who are registered with the Court

to receive electronic notifications in the matter.

Dated: August 28, 2018

                                                                /s/ Richard R. Thames
                                                          By:
                                                                Richard R. Thames




                                                     16
#91216978v9
                                Case 3:16-bk-02230-PMG                Doc 1175       Filed 08/28/18        Page 17 of 32



                                                                       EXHIBIT A

                                                                     Response Chart

              Alleged Deficiency                                                                Response

 The Museums lack sufficient financial    As discussed in greater detail in the Reply, the Debtors’ feasibility objection is premature, and
 resources to consummate the Plan, making consideration of the same should not be considered prior to confirmation. The Disclosure Statement
 feasibility suspect.                     adequately discloses the Museums’ intention to raise the purchase price through a global fundraising
                                          campaign, as well as to obtain financing from governmental sources. (Disclosure Statement Art. IV.I.)
 (¶7)                                     Article IV.I of the Disclosure Statement has been supplemented with additional information about the
                                          Museums’ fundraising record and a new section has been added disclosing the risk that the Museums fail
                                          to raise the Purchase Price. (Id. Art. VII.B.1.) Additionally, as noted above, bankruptcy courts have
                                          approved disclosure statements where the plan depends on fundraising from outside sources. (Reply ¶24.)

 Failure to (i) disclose timeline of when the   As discussed in the Reply, language has been added to Article IV.I.3 of the Disclosure Statement to clarify
 sale transaction is expected to close and      that the terms of the Acquisition Agreements will be substantially similar to the terms of the Stalking
 when the Effective Date is expected to         Horse APA (including with respect to conditions precedent), and further will include an identical “Outside
 occur, and (ii) include the Acquisition        Date” (i.e. seventy calendar days following entry of an order by the Admiralty Court approving the sale):
 Agreements, the consummation of the
 transactions in which is a condition                   The Plan Sponsors anticipate that the terms of their Asset Purchase Agreement (the “Plan
 precedent to the Effective Date.                       Sponsors’ APA”) will be substantially similar to the terms of the Stalking Horse APA, including
                                                        an identical outside date of 70 days from the Admiralty Court Order Entry Date (as defined in the
 (¶¶8, 20)                                              Stalking Horse APA).

                                                As a result, the Plan Proponents anticipate Plan consummation occurring on a substantially similar timeline
                                                as any consummation of a sale pursuant to the Debtors’ bidding and auction procedures. Additionally, as
                                                discussed in the Reply, the Plan Proponents have requested that the Confirmation Hearing be scheduled for
                                                October and, if the Plan is confirmed, anticipate its consummation soon after entry of the Confirmation
                                                Order and an order of the Admiralty Court approving the sale.

 Failure to disclose the composition of the The following language has been added to Article IV.I of the Disclosure Statement disclosing the
 Creditors’ Committee and that the CEO of composition of the Creditors’ Committee and that the CEO of Running Subway, LLC, James Sanna, is also
 Running Subway, LLC, James Sanna, is       the CEO of a member of the Creditors’ Committee:
 also the CEO of a member of the
 Creditors’ Committee.                              These months of discussions culminated in the signing of the PSA on June 27, 2018 by the Plan
                                                    Proponents and certain holders of Claims against the Debtors. Under the PSA, the Plan Sponsors,
                                                    the Creditors’ Committee, and each of the three members of the Creditors’ Committee in their


#91216978v9
                                     Case 3:16-bk-02230-PMG             Doc 1175       Filed 08/28/18         Page 18 of 32



                 Alleged Deficiency                                                                Response

 (¶¶15-16)                                                capacity as creditors agreed to, among other things, support and take all steps reasonably
                                                          necessary to support the Sale and not take any action that is inconsistent with, or is intended or is
                                                          reasonably likely to interfere with, consummation of the Sale. Significantly, James Sanna, the
                                                          CEO of both Running Subway and of TSX Operating Co., LLC (a creditor in the Chapter 11
                                                          Cases and a member of the Creditors’ Committee), recused himself from, and did not participate
                                                          in, the Creditors’ Committee’s deliberations concerning, or vote on the decision to support, the
                                                          Plan. Rather, that decision was made by the Creditors’ Committee’s two other remaining
                                                          members—B.E. Capital Management Fund LP and Dallian Hoffen Biotechnique Co., Ltd. In fact,
                                                          if the Creditors’ Committee were presented with a proposal superior to the Sale and Plan, section
                                                          6(b) of the PSA authorizes the two other members of the Creditors’ Committee to terminate the
                                                          Creditors’ Committee’s support for the Plan without Mr. Sanna’s involvement.

 Failure to include detail about the global       Language has been added to Article IV.I.2 disclosing (1) that the global fundraising campaign began on
 fundraising campaign, including:                 July 24, 2018 and will be conducted by NMM and Titanic Belfast, with the assistance of the National
                                                  Geographic Society and Ireland Funds, among others and (2) in addition to the fundraising efforts, Royal
             whether the campaign has begun,     Museums Greenwich is in advanced discussions for an unsecured loan from the United Kingdom
                                                  Department for Digital, Culture, Media and Sport for a substantial portion of the Purchase Price:
             who will be conducting the global
              fundraising campaign on behalf              The purchase price for the Purchased Assets is $19,200,000 (the “Purchase Price”). NMM,
              of, or in conjunction with, NMM,            NMNI, and Titanic Belfast intend to raise the full amount of the Purchase Price from and with the
              NMNI, and Titanic Belfast, or               support and assistance of government sources from the United States, United Kingdom, and
                                                          Northern Ireland, high net worth individual and corporate donors, and a public campaign backed
             where the parties are at in their           by certain high profile endorsements.
              fundraising efforts.
                                                          Over the past year, NMM and Titanic Belfast have conducted a campaign to build support among
 (¶17)                                                    government officials, certain key individuals connected to the R.M.S. Titanic, and high net worth
                                                          individual and corporate donors for the acquisition of the Artifact Collection. The support is led
                                                          by the National Geographic Society, and by Dr. Ballard, who led the 1985 expedition that located
                                                          the Titanic. Together, NMM and Titanic Belfast have developed a comprehensive fundraising
                                                          campaign that launched with a media event on July 24, 2018, in Belfast, Northern Ireland, at
                                                          which Dr. Ballard was the keynote speaker and at which James Cameron, director of the 1997
                                                          Titanic film, provided a video address. Titanic Belfast has secured the support of the National
                                                          Geographic Society to act as a publicity platform from which to promote the fundraising efforts,
                                                          as well as the support and assistance of the Ireland Funds, a global philanthropic network that has
                                                          raised over $600 million to promote and support peace, culture, education and community



                                                                                2
#91216978v9
                               Case 3:16-bk-02230-PMG            Doc 1175       Filed 08/28/18        Page 19 of 32



              Alleged Deficiency                                                           Response

                                                    development throughout Ireland.

                                                    In addition to the fundraising efforts, RMG is in advanced discussions with the United Kingdom
                                                    Department for Digital, Culture, Media and Sport for support of up to £7.5 million (approximately
                                                    $9.7 million) in the form of an unsecured loan, repayable by RMG over an extended period.

                                                    NMM and Titanic Belfast remain confident that by the Confirmation Hearing, they will have
                                                    received the remaining contributions to reach the full amount of the Purchase Price.

                                            The Plan Proponents may provide updates as Plan Supplements from time to time describing the amount of
                                            funds raised. As discussed in the Reply, the Museums will be prepared to demonstrate the Plan’s
                                            feasibility at the confirmation hearing.

 Failure to disclose the risk factors       A new Article VII.B.1 has been added to the Disclosure Statement disclosing the risk that the Museums
 regarding the fundraising campaign.        fail to raise the full purchase price:

 (¶17)                                              The Museum Plan Sponsors May Not Be Able To Raise the Purchase Price

                                                    The Plan Sponsors have agreed to purchase substantially all of the Debtors' assets and assume
                                                    certain liabilities for $19.2 million. NMM, NMNI, and Titanic Belfast intend to raise the full
                                                    amount of the Purchase Price from and with the support and assistance of government sources
                                                    from the United States, United Kingdom, and Northern Ireland, high net worth individual and
                                                    corporate donors, and a public campaign backed by certain high profile endorsements. Although
                                                    the Plan Proponents are confident, based on the strong fundraising records of NMM, NMNI, and
                                                    Titanic Belfast and discussions with certain government sources and high net worth individual and
                                                    corporate donors, that NMM, NMNI, and Titanic Belfast will successfully raise the Purchase
                                                    Price, there is no guarantee that NMM, NMNI, and Titanic Belfast will be able to raise the full
                                                    amount. If the campaign fails to raise the full Purchase Price, then the Sale and consummation of
                                                    the Plan would not occur.

 Failure to include a mechanism or          As described in the Reply, a mechanism or instrument that requires the Museums and Running Subway to
 instrument that requires the Museums and   acquire the Debtors’ assets at a threshold amount is not necessary. It is a condition precedent to the
 Running Subway to acquire the Debtors’     effectiveness of the Plan that the Plan Sponsors raise the full $19.2 million purchase price needed to
 assets at a threshold amount.              consummate the Sale. See Plan Art. XI.B.5 (requiring consummation of the Sale as a condition precedent
                                            to the effectiveness of the Plan). The $19.2 million purchase price is, therefore, the very “threshold



                                                                         3
#91216978v9
                                Case 3:16-bk-02230-PMG               Doc 1175        Filed 08/28/18          Page 20 of 32



              Alleged Deficiency                                                                Response

 (¶18)                                         amount” that the Debtors assert does not exist in the Plan.

 Failure to disclose that approval of the      Language has been added to Article IV.H of the Disclosure Statement disclosing that approval of the
 Disclosure Statement would trigger a          Disclosure Statement would trigger a default under the Stalking Horse APA:
 default under the Stalking Horse APA.
                                                       Pursuant to section 7.4 of the Asset Purchase Agreement filed as Exhibit B to the Debtors’ Sale
 (¶18)                                                 Motion (the “Stalking Horse APA”), the Stalking Horse Purchaser may terminate the Stalking
                                                       Horse APA if certain milestones are not achieved or if the Bankruptcy Court approves a disclosure
                                                       statement with respect to a chapter 11 plan filed by any person other than the Debtors, including
                                                       this Disclosure Statement. See Stalking Horse APA §§ 7.4(b), (d). As of the date hereof, two
                                                       milestones were not achieved: (i) the Bankruptcy Court did not enter an order approving the
                                                       bidding procedures associated with the Third Sale Motion prior to 9:00 p.m. (Eastern Time) on
                                                       July 20, 2018, and (ii) the Bankruptcy Court did not approve the sale substantially all of the
                                                       Debtors’ assets pursuant to the Third Sale Motion prior to 9:00 p.m. (Eastern Time) on August 15,
                                                       2018. As of the date hereof, neither the Creditors’ Committee nor the Museum Plan Proponents
                                                       are aware of a notice of termination having been served by the Stalking Horse Purchaser upon the
                                                       Debtors.

                                               As discussed in the language above, several milestones have already not been achieved, so the Stalking
                                               Horse Purchaser is currently able to terminate the Stalking Horse APA according to its terms.

 Failure to address the litigation risk and    Language has been added to Article V.Q of the Disclosure Statement disclosing that litigation risk and
 associated drain on estate resources that     associated drain on estate resources that may result from a competing plan process, including as a result of
 would result from competing plan process,     legal fees incurred by the Debtors and the committees, and the cost of solicitation may impact creditor
 including solicitation costs and legal fees   recoveries:
 that would be incurred by the Debtors and
 statutory committees.                                 Delay in confirmation or consummation of the Plan, including as a result of litigation related to the
                                                       Debtors’ Third Sale Motion, the Plan, or the Equity Committee Plan, may result in reduced
                                                       recoveries relative to those projected herein due to the continued accrual of interest on the DIP
                                                       Loan and potentially additional administrative expenses, including professional fees of the
                                                       Debtors, the Creditors’ Committee, and the Equity Committee. Additionally, the Recovery
                                                       Analysis does not account for any costs associated with solicitation, nor does it account for any
                                                       savings associated with obviating the need for a follow-on liquidation plan process should the
                                                       Debtors’ Third Sale Motion be approved.

 Failure to provide a timeframe in which       Language has been added to Article V.H of the Disclosure Statement to clarify that the initial distribution


                                                                              4
#91216978v9
                                  Case 3:16-bk-02230-PMG           Doc 1175        Filed 08/28/18        Page 21 of 32



              Alleged Deficiency                                                              Response

 creditors can expect recovery.              to creditors will occur “on the Effective Date or as soon as reasonably practicable after the Effective Date.”
                                             Additionally, as described above, the Acquisition Agreements will have an Outside Date of seventy
 (¶21)                                       calendar days after the Admiralty Court enters an order approving the transactions consummated therein.

 Failure to provide creditors with an        A recovery analysis providing creditors with an estimated return on their claims has been added as Exhibit
 estimated return on their claims.           C to the Disclosure Statement. Additionally, creditors are provided with an estimated return on their
                                             claims on a Class-by-Class basis in Article I.C of the Disclosure Statement.
 (¶21)

 Failure to include forms of Acquisition     Language has been added to Article IV.I.3 clarifying that the Acquisition Agreements are “substantially
 Agreements which, as a result, provides     similar” to the Stalking Horse APA and describing certain key differences:
 creditors with “no way of comparing” the
 $19.2 million purchase price under the              The Plan Sponsors anticipate that the terms of their Asset Purchase Agreement (the “Plan
 Plan and the $17.5 million purchase price           Sponsors’ APA”) will be substantially similar to the terms of the Stalking Horse APA, including
 under the Debtors’ proposed sale to the             an identical outside date of 70 days from the Admiralty Court Order Entry Date (as defined in the
 Stalking Horse Purchaser.                           Stalking Horse APA). Certain terms of the Plan Sponsors’ APA are expected to differ from the
                                                     Stalking Horse APA, however, including in the following respects:
 (¶¶8, 22-23)
                                                             Absence of Certain Purchaser Protective Provisions. Unlike the Stalking Horse APA, the
                                                              Plan Sponsors’ APA will not include (i) any termination fee payable to the Purchasers (as
                                                              defined in the Stalking Horse APA) or (ii) the reimbursement by Sellers (as defined in the
                                                              Stalking Horse APA) of the Purchasers’ expenses incurred in connection with its due
                                                              diligence investigation of Sellers and RMST and the negotiation of the Plan Sponsors’
                                                              APA. In fact, the attorneys representing NMM are doing so on a pro bono basis.

                                                             Fully-Refundable Good Faith Deposit. To accommodate the Plan Sponsors’ institutional
                                                              limitations, the Plan Sponsors’ APA will require the Good Faith Deposit (as defined in
                                                              the Stalking Horse APA) to be refunded in the event the closing of the acquisition does
                                                              not occur.

                                                             Materiality Qualification of Representations and Warranties. The Stalking Horse APA
                                                              requires the representations and warranties of Sellers and RMST contained therein to be
                                                              true and correct in all respects as a condition to Purchasers’ obligation to close the
                                                              acquisition—a standard that substantially detracts from the Debtors’ certainty that closing
                                                              will occur. In particular, such a condition to closing would mean the Stalking Horse
                                                              Purchaser would not be required to close the acquisition if any aspect of any of the


                                                                            5
#91216978v9
                                 Case 3:16-bk-02230-PMG               Doc 1175        Filed 08/28/18        Page 22 of 32



              Alleged Deficiency                                                                 Response

                                                                Debtors’ representations or warranties was incorrect. By contrast, the Plan Sponsors’
                                                                APA will provide that the Purchasers will not be permitted to invoke a breach of, or
                                                                inaccuracy in, the Sellers’ representations or warranties to avoid closing the acquisition
                                                                unless, (i) for fundamental representations, such representations and warranties are not
                                                                true other than in de minimis respects and (ii) for non-fundamental representations, such
                                                                representations and warranties are untrue such that it would cause a Seller Material
                                                                Adverse Effect (as defined in the Plan Sponsors’ APA), which is an extremely high
                                                                standard.

                                                               Fundraising Condition. The Plan Sponsors’ APA will contain a representation from the
                                                                relevant Plan Sponsors that they have a fundraising plan designed to raise the full
                                                                purchase price. In addition, the relevant Plan Sponsors will covenant to use their
                                                                reasonable best efforts to complete the fundraising plan prior to the closing date. Due to
                                                                the nature of the Museum Plan Sponsors’ business, the successful completion of the
                                                                fundraising plan will be a condition to the closing, however, the Museum Plan Sponsors
                                                                are very confident of their ability to raise the necessary funds.

 Failure to disclose which executory         As discussed in the Reply, the Plan Proponents intend to file a Schedule of Assumed Contracts and Leases
 contracts and/or unexpired leases are to be as a Plan Supplement. However, language has been added to Article V.F of the Disclosure Statement
 assumed as part of the Plan.                confirming that “[a]ll or substantially all of the executory contracts and unexpired leases of the Debtors
                                             will be assumed and assigned to certain of the Plan Proponents” and that cure payments shall be paid by
 (¶ 22-23)                                   the party assuming the contract or lease—not by the Debtors.

 Failure to include a list or description of   As described in the Reply, the inclusion of a list of claims against the Debtors is not a condition precedent
 the scheduled claims against the Debtors      for the adequacy of a disclosure statement. In response to this objection, however, the Plan Proponents
 or the impact of such claims being            added a new Article V.C to the Disclosure Statement titled “Bar Dates and Claims Filed” which directs
 allowed or disallowed.                        creditors to the Debtors’ schedules of assets and liabilities and statements of financial affairs. Article IX of
                                               the Disclosure Statement also directs creditors to the website of the Creditors’ Committee and Equity
 (¶ 22-23)                                     Committee, where creditors may access the docket without charge.

                                               Additionally, Exhibit C to the Disclosure Statement provides the Debtors’ estimates of Claims against the
                                               estates, and Article V.Q of the Disclosure Statement discloses that the Plan Proponents anticipate that the
                                               general unsecured claim asserted by PacBridge Capital Partners (HK) Ltd. will not be allowed.




                                                                              6
#91216978v9
                                Case 3:16-bk-02230-PMG              Doc 1175        Filed 08/28/18         Page 23 of 32



              Alleged Deficiency                                                                Response

 Failure to include a liquidation analysis.   A liquidation analysis is not required by the Bankruptcy Code. Article IV.D discusses why the Museum
                                              Plan Proponents believe that the recoveries available to creditors in a chapter 7 liquidation would be
 (¶ 23)                                       significantly less than the recoveries that will be achieved by consummation of the Plan:

                                                      Because the Plan is a liquidating plan, the “liquidation value” in the hypothetical chapter 7
                                                      liquidation analysis for purposes of the “best interests” test is substantially similar to the estimates
                                                      of the results of the chapter 11 liquidation contemplated by the Plan. However, the Plan
                                                      Proponents believe that in a chapter 7 liquidation, there would be additional costs and expenses
                                                      that the Estates would incur, and additional claims due to, among other things, the rejection of
                                                      executory contracts, as a result of liquidating the Estates in a chapter 7 case. Additionally, the
                                                      Debtors have proposed a sale to the Stalking Horse Purchaser for a purchase price that is $1.7
                                                      million less than the Purchase Price proposed under the Plan and, as evidenced in the Recovery
                                                      Analysis, the sale to the Stalking Horse Purchaser would result in a lower recovery for unsecured
                                                      creditors.

                                                      Conversion of the Chapter 11 Cases to chapter 7 at this stage would likely result in significantly
                                                      reduced creditor recoveries, relative to the recoveries that would likely be achieved if the Sale
                                                      contemplated hereby were consummated. The costs of liquidation under chapter 7 of the
                                                      Bankruptcy Code would include the compensation of a chapter 7 trustee, as well as the costs of
                                                      counsel and other professionals retained by the chapter 7 trustee, and additional accrued interest
                                                      obligations under the DIP Loan. The Plan Proponents believe such amount would exceed the
                                                      amount of expenses that would be incurred in implementing the Plan and winding up the affairs of
                                                      the Debtors. Appointment of a chapter 7 trustee would result in the abrupt shutdown of the
                                                      Debtors’ exhibition business, as the chapter 7 trustee would be prohibited from operating the same
                                                      absent Court authorization pursuant to Bankruptcy Code section 721 and would likely lack the
                                                      experience and expertise to operate said business. Such a shutdown would likely result in the
                                                      incurrence of significant additional administrative expenses, such as rent obligations under the
                                                      Debtors’ assumed or postpetition exhibition leases. A chapter 7 trustee would likely also incur
                                                      significant costs marshalling the Debtors’ assets, from geographically dispersed permanent and
                                                      traveling exhibition locations, particularly if his or her appointment results in key personnel
                                                      departures. In addition, appointment of a chapter 7 trustee would also likely result in the
                                                      establishment of a new Claims Bar Date pursuant to Bankruptcy Rule 1019 and payment of an
                                                      otherwise avoidable statutory commission to the chapter 7 trustee under section 326 of the
                                                      Bankruptcy Code.

                                                      As such, the distributions to creditors will likely be larger under the Plan. Additionally,


                                                                             7
#91216978v9
                               Case 3:16-bk-02230-PMG      Doc 1175        Filed 08/28/18        Page 24 of 32



              Alleged Deficiency                                                      Response

                                              distributions to creditors contemplated by the terms of the Plan will be made more quickly than
                                              any likely distribution that would be made by a chapter 7 trustee because a chapter 7 trustee will
                                              need an undetermined period of time to investigate and comprehend the assets, liabilities, and
                                              asserted Claims against the Estates.




                                                                    8
#91216978v9
              Case 3:16-bk-02230-PMG   Doc 1175   Filed 08/28/18   Page 25 of 32



                                        EXHIBIT B

                                 Transcript of Proceedings




#91216978v9
     Case 3:16-bk-02230-PMG   Doc 1175   Filed 08/28/18   Page 26 of 32

                                                                          1




 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
 2                           Norfolk Division
 3
 4   - - - - - - - - - - - - - - - - - -
                                              )
 5     R.M.S. TITANIC, INC.,                  )
       SUCCESSOR IN INTEREST TO               )
 6     TITANIC VENTURES, LIMITED              )
       PARTNERSHIP,                           )
 7                                            )    CIVIL ACTION NO.
                Plaintiff,                    )    2:93cv902
 8                                            )
       v.                                     )
 9                                            )
       THE WRECKED AND ABANDONED              )
10     VESSEL, ETC.,                          )
                                              )
11             Defendant.                     )
     - - - - - - - - - - - - - - - - - -
12
13
                        TRANSCRIPT OF PROCEEDINGS
14
                              Norfolk, Virginia
15
                               August 21, 2018
16
17
     BEFORE:   THE HONORABLE REBECCA BEACH SMITH
18             Chief United States District Judge
19
20   APPEARANCES:
21              KALEO LEGAL
                By: Brian A. Wainger
22                        And
                McGUIRE WOODS LLP
23              By: Robert W. McFarland
                     Counsel for R.M.S. Titanic
24
25




                    JODY A. STEWART, Official Court Reporter
     Case 3:16-bk-02230-PMG   Doc 1175   Filed 08/28/18   Page 27 of 32

                                                                          2




 1
     APPEARANCES CONTINUED:
 2
 3             UNITED STATES ATTORNEY'S OFFICE
               By: Kent Porter
 4                  Assistant United States Attorney
                    Counsel for Amicus United States
 5
               THE NATIONAL OCEANIC AND ATMOSPHERIC ADMINISTRATION
 6             By: Jackie Rolleri
                         And
 7             DEPARTMENT OF JUSTICE
               By: Matt Troy
 8                  Counsel for NOAA
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25




                  JODY A. STEWART, Official Court Reporter
     Case 3:16-bk-02230-PMG    Doc 1175   Filed 08/28/18   Page 28 of 32

                                                                           8




 1              THE COURT:    As I understand what's coming up on
 2   August 30th, from my reading of the orders and the
 3   materials, is the Court is going to, first of all, consider
 4   the competitive bidding procedures.         That's something that
 5   the Court is going to look at that had been proposed by the
 6   debtors.
 7              MR. McFARLAND:   Correct.
 8              THE COURT:    Then the Court is going to look at the
 9   disclosure statement that's been filed by the equity
10   committee regarding their proposed plan?
11              MR. McFARLAND:   Correct.
12              THE COURT:    The disclosure statements filed by the
13   museum regarding their proposed plan?
14              MR. McFARLAND:   As part of the unsecured creditors,
15   yes, Your Honor, that's correct.        So two other plans will be
16   reviewed and the bidding procedures.
17              THE COURT:    That is what is supposed to occur on
18   August 30th before the bankruptcy court?
19              MR. McFARLAND:   Correct.
20              THE COURT:    This may be getting ahead a bit, but
21   the bankruptcy court invited or ordered the other two
22   entities, the equity committee, and I'll just call them the
23   museum, to intervene in this action?
24              MR. McFARLAND:   We don't read the bankruptcy's
25   Court order as inviting them to.        What the bankruptcy court




                    JODY A. STEWART, Official Court Reporter
     Case 3:16-bk-02230-PMG    Doc 1175   Filed 08/28/18   Page 29 of 32

                                                                            9




 1   did there is it, number one, set forth that it was going to
 2   follow the Chapter 11 procedures and policies set forth in
 3   the bankruptcy code.
 4            THE COURT:      I understand that, as well it should,
 5   and it will, I feel positive of that.
 6            MR. McFARLAND:     Right.     Then it rejected the idea
 7   of a joint jurisdictional plan, essentially, that had been
 8   offered by the equity committee, and this Court ruling
 9   piecemeal or earlier than the bankruptcy court on the key
10   rulings, and what it said is, parties should go to the
11   District Court, to the extent necessary, for the approvals
12   necessary.
13            But we don't read the bankruptcy court's order at
14   all, Your Honor, as directing or mandating intervention by
15   these other parties.     In fact, and I don't want to get the
16   cart too much in front of the horse here, but in terms of
17   that, we believe it would be premature for either the
18   museum/unsecured creditors or the equity committee to move
19   in this case at this point in time.
20            THE COURT:      Well, I'm quoting from the bankruptcy
21   court's August 3rd order where the bankruptcy court directed
22   the parties to, "Move in the District Court for any
23   approvals or determinations required by the District Court
24   to complete the proposed transactions."          I think both courts
25   are in agreement that there are respective jurisdictions.




                  JODY A. STEWART, Official Court Reporter
     Case 3:16-bk-02230-PMG   Doc 1175   Filed 08/28/18   Page 30 of 32

                                                                            10




 1   Obviously, the bankruptcy court has its jurisdiction.
 2   Regardless of any approval of any sale of the assets, you
 3   are subject to the covenants and conditions and the order of
 4   this Court.    So, ultimately, there is going to have to be
 5   some approval from this Court of something.           You can't just
 6   move these assets out to another entity without following a
 7   previous order of the Court.
 8            This Court had jurisdiction and entered that order,
 9   and that's a final order of this Court.         It's going to have
10   to be followed.   I think both the bankruptcy court and this
11   Court recognize that.    This Court has no desire to get into
12   the bankruptcy proceedings and direct any approvals there.
13   That's up to the bankruptcy court in their Chapter 11
14   proceedings.
15            On the other hand, this Court does have to approve
16   any transfer of all of these assets to be sure that it is
17   following this Court's order of the covenants and conditions
18   to keep everything together and subject to the jurisdiction
19   of this Court.
20            MR. McFARLAND:    We agree, Your Honor.          To the
21   extent there would be another purchaser other than the
22   Stalking Horse Purchaser, where there would be a transfer of
23   assets of R.M.S.T., we agreed, under the covenants and
24   conditions, that would be required.        Under the Asset
25   Purchase Agreement that has presently been presented to the




                    JODY A. STEWART, Official Court Reporter
     Case 3:16-bk-02230-PMG    Doc 1175   Filed 08/28/18   Page 31 of 32

                                                                              11




 1   bankruptcy court, this will be, as to R.M.S.T., a stock of
 2   acquisition, a hundred percent of the stock of R.M.S.T.
 3            So I don't think that directly implicates the
 4   covenants and conditions, as we set forth in our motion and
 5   memorandum.   What we do know and state to the Court that the
 6   prospective purchaser in the Asset Purchase Agreement
 7   directed and mandated that this Court have approval of that,
 8   and that's under the Asset Purchase Agreement.             So we agree
 9   with that aspect, Your Honor.
10            THE COURT:      Your position is that the Court really
11   doesn't need to approve your Asset Purchase Agreement
12   because it's a transfer of stock.        On the other hand, you've
13   asked for this Court to approve it because the purchaser is
14   requiring it.    So, in effect, this Court would have to
15   approve it.
16            MR. McFARLAND:     Absolutely, Your Honor.          We would
17   come to this Court for that approval after the bankruptcy
18   court's proceeding on August 30th and then when the other
19   proceedings proceed.     So, for example, if the bankruptcy
20   court sets the bidding procedures, and there is an auction
21   scheduled, the other option would be a private sale, but we
22   would prefer an auction because we think that will bring a
23   higher return.
24            Then there is an auction set with a date, a public
25   auction is held, et cetera, then the winning bidder at the




                     JODY A. STEWART, Official Court Reporter
     Case 3:16-bk-02230-PMG    Doc 1175   Filed 08/28/18   Page 32 of 32

                                                                               12




 1   auction, we would then have to come to the Court and say
 2   here's what is the auction qualified bidder and ask for the
 3   Court's approval at that point time.
 4            But at this point in time, we don't know.              It is
 5   the company's position that we think the best and really
 6   only viable option that's out there right now is the Asset
 7   Purchase Agreement with the Stalking Horse Bidder.              That is
 8   the only thing that we see as viable right now.             But things
 9   may change between now and when the auction is scheduled.
10            At this point, Your Honor, it would be premature,
11   and we wouldn't ask the Court and couldn't ask the Court to
12   approve anyone today because there is really no one at this
13   juncture for this Court to approve.         But we do hope to come
14   back before the Court, and we would, if the timetable goes a
15   little quicker than it did, which brings us here today, we
16   are hoping to be back before the Court, obviously with the
17   Court's permission and schedule, in mid-October or so.
18            THE COURT:      There is something in here about a
19   September date.
20            MR. McFARLAND:     Your Honor, in the original Asset
21   Purchase Agreement, that is going to have to be amended.
22   There is no way we are going to get before Your Honor by
23   September 7th.    We acknowledge that.       They didn't move as
24   quickly in the bankruptcy court as we would have hoped.
25   That's just sometimes, as the Court is well aware, that




                  JODY A. STEWART, Official Court Reporter
